
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________


          No. 97-1233


                              UNITED STATES OF AMERICA,

                                      Appellant,

                                          v.

                                  ERIC GRAY SNYDER,

                                 Defendant, Appellee.
                              _________________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Edward F. Harrington, U.S. District Judge]
                                               ___________________
                              _________________________

                                        Before

                                Selya, Circuit Judge,
                                       _____________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                              and Boudin, Circuit Judge.
                                          _____________

                              _________________________

               James F. Lang,  Assistant United States Attorney,  with whom
               _____________
          Donald K.  Stern, United States  Attorney, was on brief,  for the
          ________________
          United States.
               Victoria L. Nadel for appellee.
               _________________
               Murray  Kohn  on  brief  for  Massachusetts  Association  of
               ____________
          Criminal Defense Lawyers, amicus curiae.

                              _________________________

                                  February 12, 1998

                              _________________________



















                    SELYA, Circuit  Judge.  In this single-issue sentencing
                    SELYA, Circuit  Judge.
                           ______________

          appeal,  the government  implores  us  to  set  aside  defendant-

          appellee  Eric  Gray  Snyder's  sentence.    The  district  court

          predicated  that sentence  on a  disparity  between the  sentence

          mandated for  the offense of conviction by the federal sentencing

          guidelines and the sentence Snyder likely would have received had

          state authorities prosecuted  him.  See United States  v. Snyder,
                                              ___ _____________     ______

          954  F. Supp.  19,  22 (D.  Mass.  1997) (memorandum  explicating

          reasons  for sentence).   We  thus confront  a question  of novel

          impression  in   this  circuit:    Is   federal/state  sentencing

          disparity  a permissible  basis  for a  downward  departure?   We

          answer that question  in the negative.  Consequently, Snyder must

          be resentenced.

          I.  BACKGROUND
          I.  BACKGROUND

                    We touch lightly upon the facts of the case as they are

          only obliquely  relevant to  the legal problem  that this  appeal

          presents.   On January  10, 1995, a  known drug user,  John Hawk,

          told  a Boston  police officer, William  Doogan, that  Snyder had

          robbed  him and his  paramour at gunpoint and  stolen a number of

          Valium tablets.  Hawk further stated that Snyder, driving a black

          Honda and accompanied  by Frank Diaferio  (a reputed drug  dealer

          known to Doogan), was headed toward Roslindale.  Doogan knew that

          Diaferio  resided at  17 Murray  Hill Road  in Roslindale  and he

          immediately arranged for police surveillance of that locus.  When

          Snyder  and Diaferio  arrived in  the  black Honda,  the officers

          found a loaded  .32 caliber pistol in  a locked briefcase  in the


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          car's trunk.  Doogan placed Snyder under arrest.  During a search

          at the station house, police officers recovered 26 Valium tablets

          from Snyder's pants pocket.

                    Initially,  Massachusetts  authorities  charged  Snyder

          under  Mass. Gen.  L. ch.  269,    10(a)  (1990) with  unlawfully

          carrying  a  firearm,  an offense  punishable  by  a 2 -to-5-year

          prison  term.   When  a  federal  grand  jury later  returned  an

          indictment that charged  Snyder with being a  felon in possession

          of  a firearm  in  violation  of 18  U.S.C.    922(g)(1)  (1994),

          Massachusetts dropped the state charge.

                    In  due course,  a  federal  trial  jury  found  Snyder

          guilty.  The  probation office thereafter prepared  a presentence

          investigation report (the PSI Report).  The  PSI Report indicated

          that  Snyder's extensive criminal history rendered him subject to

          the  sentencing   enhancement  provisions  of  the  Armed  Career

          Criminal Act,  18 U.S.C.    924(e) (1994) (ACCA).   Employing the

          corresponding sentencing guideline, USSG   4B1.4 (Nov. 1995), the

          PSI Report  projected the guideline sentencing range  (GSR) to be

          262 to 327 months.

                    Judge  Harrington  conducted   a  three-day  sentencing

          proceeding.    On October  9,  1996,  Snyder's  counsel  and  the

          prosecutor  sparred  over  Snyder's insistence  that  he  was not

          subject to the ACCA because  certain of his prior convictions did

          not qualify  as predicate offenses  thereunder.  See 18  U.S.C.  
                                                           ___

          921(a)(20)  (1994)  (delineating   various  exclusions  from  the

          taxonomy of eligible predicate offenses).   In the course of that


                                          3














          hearing,  Judge  Harrington   expressed  reservations  about  the

          steepness  of the  projected sentencing  range.   Afterwards,  he

          issued  a  memorandum that  noted  his "grave  concern"  with the

          "gross disparity" between the GSR and the  punishment that Snyder

          would have  received had state authorities pursued and obtained a

          conviction  on  the originally  charged state  offense.   In that

          memorandum, the  judge made no  bones about his disdain  for "the

          unfettered  and unreviewable  discretion  of  the  United  States

          Attorney" to  prosecute in federal court the  "`local' offense of

          carrying  a  firearm."   He  concluded  by scheduling  a  further

          hearing   to  address  the  issues  "whether  this  disparity  in

          sentences and the de facto selective prosecution of the defendant
                            __ _____

          raise  any constitutional concerns and whether the combination of

          the  above two  issues justify  [sic] a downward  departure under

          USSG   5K2.0."

                    At  the resumed  hearing, held  on  December 12,  1996,

          Judge  Harrington reiterated his belief that sentencing Snyder to

          a 21-year prison term would  constitute a "gross violation of the

          principles of  justice."   Engaging in  what some  might consider

          wishful  thinking, the  judge  then predicted  the demise  of the

          sentencing guidelines:

                    I  said  yesterday  to  the  U.S.  Attorney's
                    Office,  this  type  of  de facto,  selective
                    prosecution continues.   And when there  is a
                    disparity  of  over  20  years  for  the same
                    offense, . . . the guidelines are going to be
                    dismantled because the federal judiciary will
                    no  longer, no longer  put up with  it.  It's
                    going to be dismantled.

                    Judge  Harrington   convened  the  third,   and  final,

                                          4














          sentencing session  on January  14, 1997.   He ruled  that Snyder

          fell within the ambit of the  ACCA and that USSG  4B1.4 therefore

          applied.   He computed the GSR to  be 235 to 293  months.1  Judge

          Harrington then  departed downward  pursuant to  USSG  5K2.0  and

          sentenced Snyder  to an  incarcerative term  of  180 months  (the

          mandatory minimum under  the ACCA).   He  premised the  departure

          squarely  on  the   ground  that  the   federal/state  sentencing

          disparity  created by  interleaved  federal  and  state  criminal

          jurisdiction  over  Snyder's  conduct "is  contrary  to  the very

          objective of  and theory upon  which the Guidelines  are grounded

          and  therefore takes this case out  of the heartland and makes it

          atypical."   Snyder, 954 F. Supp. at 22.2  The sentencing court's
                       ______

          rescript repeatedly condemns a system that cedes broad discretion

          to prosecutors to determine who  will be charged federally   and,

          thus,   exposed  to  potentially  harsher  sentences     when  an

          offender's  conduct  violates  both federal  and  state  criminal

                              
          ____________________

               1The difference between the GSR projected in the PSI  Report
          and that  actually used stemmed from Judge Harrington's finding  
          not contested on appeal   that the government had not proven that
          Snyder committed an armed robbery.   This finding shrunk Snyder's
          base offense level  from 34 to 33, see  USSG  4B1.4(b)(3)(B), and
                                             ___
          effected a commensurate decrease in the GSR.

               2On  appeal,  Snyder  attempts to  divert  our  attention to
          alternative  rationales   that  arguably  support   the  downward
          departure.   But Judge Harrington's decision makes  no mention of
          such factors.   To the  contrary, he expressly stated  that "[t]o
          this Court the issue raised is . . . one of disparity between the
          sentences to be imposed."   Snyder, 954 F. Supp.  at 22.  As  our
                                      ______
          analysis must focus on the reasons given by the district court in
          support  of a  departure, we take  no view  of Snyder's  post hoc
          justifications.  See  United States v. Dethlefs, 123  F.3d 39, 43
                           ___  _____________    ________
          (1st Cir. 1997);  United States v. Jackson, 30 F.3d 198, 202 (1st
                            _____________    _______
          Cir. 1994).

                                          5














          codes.  See,  e.g., id. at 21  (disparaging "disparate sentencing
                  ___   ____  ___

          treatment"   brought  about   "by   the   exercise  of   absolute

          prosecutorial  discretion");  id.  at 22  ("For  where  unbridled
                                        ___

          power, unchecked by judicial scrutiny, can by fiat determine that

          a certain person from  among many similarly situated shall  serve

          such a disparate sentence for  the same offense, then the balance

          of  governmental powers has  become distorted and  the liberty of

          every individual is held hostage  to the potential tyranny of the

          Executive Branch.").

          II.  STANDARD OF REVIEW
          II.  STANDARD OF REVIEW

                    We  deal  here only  with  the  government's sentencing

          appeal.3   We review a  district court's decision to  depart from

          the guideline sentencing range for abuse of discretion.  See Koon
                                                                   ___ ____

          v.  United  States,  116  S.  Ct.  2035,  2046-47  (1996).    Our
              ______________

          examination proceeds stepwise.   First, we ascertain  whether the

          guidelines  permit  the  sentencing  court's  stated  ground  for

          departure.  If so, we examine the record to discern the  adequacy

          of the  factual support that undergirds the  departure.  Finally,

          if the departure rests on  satisfactory record support, we assess

          the  reasonableness of  its  magnitude in  light  of the  factual

          predicate.   See United  States v. Dethlefs,  123 F.3d  39, 43-44
                       ___ ______________    ________

          (1st  Cir.  1997).    Here,  the  government  concedes  that  the

          departure  decision stands  or falls  on the  first prong  of the

                              
          ____________________

               3Snyder appealed his conviction and his classification as an
          armed  career criminal.   We heretofore affirmed  his conviction.
          See United States v. Snyder, No. 97-1187 (1st Cir. Jan. 29, 1998)
          ___ _____________    ______
          (unpublished).

                                          6














          test.

                    Whether the guidelines countenance a particular  ground

          for  departure is  a question of  law.   See Koon, 116  S. Ct. at
                                                   ___ ____

          2047.  While this legal question technically  falls within Koon's
                                                                     ____

          unitary  abuse-of-discretion  rubric,  "[a]  district  court   by

          definition abuses its discretion when  it makes an error of law."

          Id.  We determine  the existence vel non  of legal error  without
          ___                              ___ ___

          special deference  to the sentencing  court's views.   See United
                                                                 ___ ______

          States  v. Brennick, ___ F.3d  ___, ___ (1st  Cir. 1998) [No. 96-
          ______     ________

          1969, slip op. at 9].

          III.  ANALYSIS
          III.  ANALYSIS

                    We turn  now to  the validity  of the district  court's

          stated ground  for departure.   The twin stanchions on  which our

          analytic framework  rests are  the  generic departure  guideline,

          USSG   5K2.0   (a  guideline   that  flows   directly  from   the

          congressional command embodied in 18 U.S.C.   3553(b) (1994)) and

          the Court's opinion in Koon.
                                 ____

                    Section  5K2.0  permits a  sentencing court  to deviate

          from the  range indicated  by an  otherwise applicable  guideline

          computation  if it  finds  "that there  exists an  aggravating or

          mitigating circumstance of a kind, or to a degree, not adequately

          taken  into  consideration  by the  Sentencing  Commission."   In

          considering  whether an  appropriate  "aggravating or  mitigating

          circumstance" exists, the  court first must ask  "[w]hat features

          of  th[e]  case,  potentially, take  it  outside  the Guidelines'

          `heartland' and make of it a special, or unusual, case[.]"  Koon,
                                                                      ____


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          116  S. Ct.  at 2045 (quoting  United States v.  Rivera, 994 F.2d
                                         _____________     ______

          942, 949 (1st Cir. 1993)).  Judge Harrington believed that he had

          identified such  a feature.   In his view, the  disparity between

          the sentence that Snyder would  have received if convicted  under

          Massachusetts law and the sentence  mandated by USSG  4B1.4 was a

          mitigating circumstance  that brought Snyder's  case outside  the

          heartland of armed career criminal cases and justified a downward

          departure.  See  Snyder, 954 F. Supp. at  22.  It falls  to us to
                      ___  ______

          test this conclusion.

                    In mounting this inquiry, we do not write on a pristine

          page.   Although  the Sentencing  Commission  does not  expressly

          proscribe  federal/state  sentencing disparity  departures,  five

          federal  appellate  courts   have  taken  the  measure   of  such

          departures.    All   have  held  that   federal/state  sentencing

          disparity is never a valid basis  for a downward departure.   See
                                                                        ___

          United States v. Searcy, ___ F.3d ___, ___ (11th Cir. 1998) [1998
          _____________    ______

          WL 10237, at *2];  United States v.  Deitz, 991 F.2d 443,  447-48
                             _____________     _____

          (8th Cir. 1993); United  States v. Haynes, 985 F.2d 65, 69-70 (2d
                           ______________    ______

          Cir. 1993); United States v. Sitton, 968 F.2d  947, 962 (9th Cir.
                      _____________    ______

          1992); United  States v. Dockery,  965 F.2d  1112, 1117-18  (D.C.
                 ______________    _______

          Cir. 1992).   This  impressive array  of authority resists  ready

          rejection.

                    Snyder  harps on  two facts:   most of  these decisions

          predate Koon,4  and federal judges  are less free under  the Koon
                  ____                                                 ____

                              
          ____________________

               4The lone  exception is  Searcy, a  case decided  after this
                                        ______
          case was briefed and argued.

                                          8














          regime  to exorcise specific factors from the departure calculus.

          See Koon, 116  S. Ct. at  2051; Dethlefs, 123  F.3d at 46.   That
          ___ ____                        ________

          rejoinder is  true as far as  it goes    but it does not  go very

          far.   We are,  of course, respectful  of the change  in emphasis

          that   Koon  betokens.     Still,  "[n]otwithstanding  that  most
                 ____

          categorical interpretations are disfavored under the Koon Court's
                                                               ____

          regime, some boundaries  are essential if the guidelines  are not

          to  be emptied of  all meaning."   Dethlefs, 123 F.3d at  47.  So
                                             ________

          viewed,  the pivotal  question reduces  to whether  federal/state

          disparity trenches upon such an essential boundary.

                    The letter of the sentencing guidelines is unhelpful in

          this instance.    Departures based  on  federal/state  sentencing

          disparity  are  not  expressly  permitted  or  forbidden  in  the

          guidelines'   text,  nor   are  they  explicitly   encouraged  or

          discouraged.  As a result, we must mull the "structure and theory

          of both relevant  individual guidelines and the  Guidelines taken

          as a whole," Koon, 116 S.  Ct. at 2045 (quoting Rivera, 994  F.2d
                       ____                               ______

          at  949),  in  our  effort  to  ascertain  whether  this   factor

          conceivably  may  be   of  a  kind,  or  present   to  a  degree,

          inadequately  considered by the  Commission (and thus  capable of

          removing a  particular case  from the  "heartland" sculpted by  a

          given  guideline), see United  States v. Clase-Espinal,  115 F.3d
                             ___ ______________    _____________

          1054,  1057 (1st  Cir.  1997).   Relevant  federal statutes,  the

          guidelines themselves, their accompanying official commentary and

          policy statements, and the case law inform our inquiry.   See id.
                                                                    ___ ___

          So too  does our expectation  that such categorical bans  will be


                                          9














          relatively rare.

                    The  Commission's   enabling  statute  directs   it  to

          "establish  sentencing policies  and  practices  for the  Federal

          criminal justice system that . . . avoid[] unwarranted sentencing

          disparities among defendants  with similar records who  have been

          found guilty of  similar criminal conduct.  . . ."   28 U.S.C.   

          991(b)(1)(B) (1994); see also USSG Ch.1, Pt.A, intro. comment. 3.
                               ___ ____

          The  legislative history makes  it crystal clear  that Congress's

          allusion  to  "unwarranted  sentencing  disparities" reflected  a

          concern with variations  among federal courts across  the nation,

          without reference to their state counterparts.  See United States
                                                          ___ _____________

          v. Aguilar-Pena, 887 F.2d 347, 351-52 (1st Cir. 1989).  In terms,
             ____________

          then, the  guidelines seek  to promote  uniform sentencing  among

          federal courts in respect to federal crimes.  See Deitz, 991 F.2d
                                                        ___ _____

          at 447; Sitton, 968 F.2d at 962.
                  ______

                    The  trial judge  sought  to  elongate this  principle,

          speculating that  "it would only  be logical that  Congress would

          not favor disparity throughout the criminal justice system in  an

          era  of increased Federal-State  cooperation in the investigation

          and prosecution  of crime."   Snyder, 954 F.  Supp. at 22.   With
                                        ______

          respect, we think that elongating the principle in this way would

          destroy its structural integrity and, accordingly, that the trial

          judge's  surmise is  utterly  inconsistent  with the  guidelines'

          theoretical underpinnings.

                    If  the guidelines' goal is to promote uniformity among

          federal courts when  imposing sentences for federal  crimes, then


                                          10














          departures   aimed   at  alleviating   federal/state   sentencing

          disparity are flatly incompatible with it.  Endeavoring to make a

          federal  sentence more  closely approximate  that  which a  state

          court might impose  for similar criminal activity  would recreate

          the location-based  sentencing  swings that  Congress  sought  to

          minimize when  it opted for  a guideline paradigm.5   See Searcy,
                                                                ___ ______

          ___ F.3d  at ___ [1998 WL 10237, at *2];  Deitz, 991 F.2d at 447-
                                                    _____

          48;  see  also  Aguilar-Pena,  887  F.2d  at  352  (warning  that
               ___  ____  ____________

          departures cannot be allowed to subvert Congress's "ardent desire

          to  dispense  with  inequalities based  on  localized  sentencing

          responses").

                    The short of  it is that the guidelines  did not sprout

          in a vacuum.  Congress  and the Sentencing Commission erected the

          present sentencing  structure against  the skyline  of an  extant

          criminal justice system, see Haynes, 985 F.2d at 69; Dockery, 965
                                   ___ ______                  _______

          F.2d at  1117; see  also Stephen Breyer,  The Federal  Sentencing
                         ___  ____                  _______________________
                              
          ____________________

               5One  Commission member illustrated the swings that occurred
          in the pre-guidelines era by recounting the following findings:

                    The   region  in   which  the   defendant  is
                    convicted is  likely to change the  length of
                    time  served  from approximately  six  months
                    more  if one  is sentenced  in  the South  to
                    twelve months  less if  one  is sentenced  in
                    central  California.  . .  .    [B]lack [bank
                    robbery] defendants  convicted .  . . in  the
                    South   are   likely    to   actually   serve
                    approximately  thirteen  months  longer  than
                    similarly situated bank robbers convicted . .
                    . in other regions.

          Hearings on Sentencing Guidelines Before the Subcomm. on Criminal
          Justice of  the House  Comm. on the  Judiciary, 100th  Cong., 1st
          Sess.  554, 676-77  (1987) (testimony  of  Commissioner Ilene  H.
          Nagel).

                                          11














          Guidelines  and the  Key  Compromises Upon  Which  They Rest,  17
          ____________________________________________________________

          Hofstra L.  Rev. 1 (1988),  and that system  includes overlapping

          state  and  federal criminal  jurisdiction.   The  fact  that the

          states impose different and varied sentences for criminal conduct

          that may also  transgress federal law  is about  as obvious as  a

          hippopotamus at a  tea party.  It is  implausible to suppose that

          the Commission overlooked this large reality and therefore failed

          to account for it in  formulating the guidelines.6  See Dethlefs,
                                                              ___ ________

          123 F.3d at 47; Clase-Espinal, 115 F.3d at 1057.
                          _____________

                    We add,  moreover, that  disparity between  federal and

          state sentences in career offender cases is hardly serendipitous.

          Congress  crafted  the ACCA  on  the central  premise  that armed

          career criminals were being treated  too gently by state courts  

          coddled,  some might  say    and that  these defendants  ought to

          receive much stiffer sentences.  See United States v. Jackson, 30
                                           ___ _____________    _______

          F.3d 199, 204 (1st Cir. 1994); see also 18 U.S.C.    924(e); H.R.
                                         ___ ____

          Rep. No.  98-1073, at  5 (1984),  reprinted in  1984 U.S.C.C.A.N.
                                            _________ __

          3661,   3665;  USSG   4B1.4,  comment.  (backg'd.).    For  these

          defendants,  significant  disparity   between  sentences  at  the

          federal  and state levels is the rule, not the exception.  Hence,

          if Snyder is entitled to a downward departure on this basis, then

          virtually  every defendant  subject  to  the  ACCA  is  similarly

          entitled.  See Dockery, 965 F.2d at 1118.
                     ___ _______
                              
          ____________________

               6We  think it  unremarkable  that  the  Commission  has  not
          expressly  forbidden federal/state  disparity departures.   Given
          that the guidelines  were never intended to foster parity between
          federal  and  state  defendants,  Commission  commentary  on  the
          subject would be supererogatory.

                                          12














                    We are  equally unimpressed  with the district  court's

          attempt  to hang  its finding  of atypicality  on an  aversion to

          federal  prosecutors'  discretionary power  to  target defendants

          under federal law.   See Snyder, 954  F. Supp. at 22.   Different
                               ___ ______

          branches  of government have  different responsibilities, and the

          power  to determine  when to  prosecute and  when to  refrain is,

          within  broad  limits,  a prerogative  of  the  Executive Branch.

          Accordingly, it is a "bedrock principle of our system of criminal

          justice"  that  a  federal  judge  may  not  interfere  with  the

          government's  prosecutorial  decisions  solely to  vindicate  his

          subjective view  of the wisdom  of a given  enforcement strategy.

          United States v.  Stokes, 124 F.3d  39, 46 (1st  Cir. 1997).   It
          _____________     ______

          follows  inexorably that  the  government's lawful  selection  of

          Snyder for federal prosecution has no relevance to the sentencing

          inquiry.7

                    For   these  reasons,   we   hold  that   federal/state

          sentencing  disparity  is  not  a  feature  that  can  justify  a

          departure.    Such  departures  would contradict  hopelessly  the

          guidelines' structure and theory as well as impinge impermissibly

          upon the  Executive Branch's discretion  to prosecute  defendants

          under federal law.  See Dockery, 965 F.2d 1118.
                              ___ _______

                    We  add a  coda.    The  continuing  federalization  of

          criminal  law increases  the frequency  with which  federal/state
                              
          ____________________

               7We  find no record evidence of an unconstitutional exercise
          of prosecutorial  authority in  this case.    We  note, moreover,
          that Judge Harrington himself ruled in an unpublished order dated
          December 27,  1997, that  Snyder had failed  to make out  a prima
          facie case of selective prosecution.

                                          13














          sentencing  disparities occur,  see generally  Steven  D. Clymer,
                                          ___ _________

          Unequal Justice:  The Federalization  of Criminal Law, 70 S. Cal.
          _____________________________________________________

          L.  Rev. 643  (1997), and  we are  not entirely  unsympathetic to

          Judge  Harrington's concerns about  this trend.   Still, judicial

          dissatisfaction with a  particular aspect of the  guidelines, "no

          matter  how  steeped in  real-world wisdom,  cannot be  enough to

          trigger departures."   Aguilar-Pena,  887 F.2d at  353; see  also
                                 ____________                     ___  ____

          United  States v. Muniz,  49 F.3d 36, 43  (1st Cir. 1995); United
          ______________    _____                                    ______

          States v. Norflett, 922 F.2d 50, 54  (1st Cir. 1990).  As long as
          ______    ________

          federal  and state  sovereigns share  jurisdiction over  criminal

          matters, prosecutors will  be able to expose  selected defendants

          to  elevated  sentences.   One  can envision  models  designed to

          eliminate or minimize  this circumstance, see generally  Sara Sun
                                                    ___ _________

          Beale, Too Many  and Yet Too Few:   New Principles to  Define the
                 __________________________________________________________

          Proper Limits for Federal Criminal Jurisdiction, 46 Hastings L.J.
          _______________________________________________

          979 (1995), but  these models reflect structure and  theory quite

          different   from  that   embodied  in   the  federal   sentencing

          guidelines.  Thus, the  case for them must  be made in  Congress,

          not in the courts.

          IV.  CONCLUSION
          IV.  CONCLUSION

                    In  sum, federal/state  sentencing disparity is  not "a

          mitigating circumstance of a kind, or to a degree, not adequately

          taken  into   consideration  by  the  Sentencing   Commission  in

          formulating  the  guidelines  that should  result  in  a sentence

          different from that described."  18 U.S.C.   3553(b).   Hence, we

          vacate Snyder's sentence and remand for resentencing.


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                    We  close by  addressing  one further  point.   In  our

          companion opinion,  see supra  note 3, we  approved for  the time
                              ___ _____

          being   the  district  court's  adherence  to  United  States  v.
                                                         ______________

          Estrella, 104  F.3d  3 (1st  Cir.  1997), and  rejected  Snyder's
          ________

          contention  that  18  U.S.C.     921(a)(20)  prevents  his  prior

          Massachusetts  convictions from bringing  him within the  fold of

          the ACCA.   We  noted, however, that  the Supreme  Court recently

          granted  certiorari to review this court's unpublished opinion in

          Caron  v. United  States, Nos.  96-2338,  2339 (1st  Cir. May  9,
          _____     ______________

          1997), cert. granted,  66 U.S.L.W. 3444 (U.S. Jan.  9, 1998) (No.
                 _____ _______

          97-6270), and  prophesied that the  Court's review of  Caron will
                                                                 _____

          encompass the relevant aspects of Estrella.  Consequently, if the
                                            ________

          defendant  consents, the  district  court  may  choose  to  delay

          resentencing  pending the  resolution of  Caron.   Elsewise,  the
                                                    _____

          district  court  should  impose   sentence  consistent  herewith,

          applying  Estrella,  but reserve  to  Snyder  the  right to  seek
                    ________

          reconsideration should  the  Caron  Court's  decision  materially
                                       _____

          affect the sentence imposed.



          Vacated and remanded.
          Vacated and remanded.
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